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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

WILLIAM C. CARN, III, as Chapter 7           )
Trustee, of SpecAlloy Corporation,           )
                                             )
             Plaintiff,                      )
                                             )   Case No. 1:18-cv-893-ALB
      v.                                     )
                                             )
LYLE PELUSO, JR.,                            )
MEAGHAN PELUSO,                              )
WAYNE RATNER,                                )
MICKEY CHRISTO, and
PANHANDLE EMPLOYMENT
AGENCY, LLC,

             Defendants.

                                       ORDER

      This matter comes before the court sua sponte. It is ORDERED that the pre-

trial and trial dates are generally CONTINUED. The Parties are DIRECTED to file

a joint status report the first day of every month.

      DONE and ORDERED this 6th day of August 2019.


                                             /s/ Andrew L. Brasher
                                        ANDREW L. BRASHER
                                        UNITED STATES DISTRICT JUDGE
